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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-2(c)
  53575
  MORTON & CRAIG, LLC
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  JM-5630

  In Re:                                                            Case No.: 22-16159 (CMG)

  ASSUNCAO BROS., INC.                                              Adv. No.:

                                                                    Hearing Date: 1-3-2023

                                                                    Judge: Hon. Christine M. Gravelle


                                CERTIFICATION OF CONSENT
                    REGARDING CONSENT ORDER VACATING AUTOMATIC STAY.


 I HEREBY CERTIFY that with respect to the copy of the captioned Consent Order submitted to the

 Court, the following conditions have been met:

 (a) The terms of the copy of the consent order are identical to those set forth in the original consent order;

 (b) The signatures on the copy of the consent order submitted to the Court reference signatures of

 consenting parties obtained on the original consent order;

 (c) I will retain the original consent order for the required seven-year period;

 (d) I will make the original consent order available for inspection upon request of the Court or any party

 in interest; and

 (e) I acknowledge the signing of same for all purposes including those under Fed. R. Bank.P.9011;

                                                                     /s/ John R. Morton, Jr., Esq.
                                                                     John R. Morton, Jr., Esq.
                                                                     Attorney for Santander Consumer USA Inc.
                                                                     dba Chrysler Capital
